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                                       UNITED STATES JUDICIAL PANEL
                                                    on
                                        MULTIDISTRICT LITIGATION


    IN RE: INSULIN PRICING LITIGATION                                                                MDL No. 3080



                                           (SEE ATTACHED SCHEDULE)



                                CONDITIONAL TRANSFER ORDER (CTO −25)



    On August 3, 2023, the Panel transferred 5 civil action(s) to the United States District Court for the District of
    New Jersey for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See 688
    F.Supp.3d 1372 (J.P.M.L. 2023). Since that time, 43 additional action(s) have been transferred to the District
    of New Jersey. With the consent of that court, all such actions have been assigned to the Honorable Brian R.
    Martinotti.

    It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
    actions previously transferred to the District of New Jersey and assigned to Judge Martinotti.

    Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
    the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of New Jersey for
    the reasons stated in the order of August 3, 2023, and, with the consent of that court, assigned to the
    Honorable Brian R. Martinotti.

    This order does not become effective until it is filed in the Office of the Clerk of the United States District
    Court for the District of New Jersey. The transmittal of this order to said Clerk shall be stayed 7 days from
    the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period,
    the stay will be continued until further order of the Panel.



                                                                FOR THE PANEL:

                                 Mar 10, 2025

                                                                James V. Ingold
                                                                Clerk of the Panel




TRUE AND CERTIFIED COPY
       Keith Guthrie
   9:35 am, Mar 10 2025
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  IN RE: INSULIN PRICING LITIGATION                                                  MDL No. 3080



                      SCHEDULE CTO−25 − TAG−ALONG ACTIONS



     DIST    DIV.      C.A.NO.        CASE CAPTION


  CONNECTICUT

      CT        3      25−00057       City of Meriden v. Eli Lilly And Company et al

  FLORIDA MIDDLE

     FLM        8      25−00071       City of St. Petersburg, Florida v. Eli Lilly and Company et al

  ILLINOIS NORTHERN

                                      Teamsters Local 731 Health and Welfare Fund v. Eli Lilly &
     ILN        1      25−00339       Company et al
                                      Health and Welfare Fund of the Excavating, Grading and
     ILN        1      25−00341       Ashpalt Craft Local No. 731 v. Eli Lilly and Company et al
